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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

 SANDRA FOY JOHNSON, individually,               )
 and on behalf of the ESTATE of                  )
 DONALD JOHNSON, deceased,                       )
                                                 )
                     Plaintiff,                  )
                                                 )
        v.                                       )   C/A No.: 4:16-CV-256-WTM-GRS
                                                 )
 CORIZON HEALTH, INC., a Tennessee               )
 Corporation; CORIZON LLC, a Missouri            )
 limited liability company; JOHN                 )
 WILCHER in his capacity as                      )
 CHATHAM COUNTY SHERIFF;                         )
 CLAYTON M. RAMSU, M.D.; and                     )
 JOSEPH G. MOYSE, M.D.,                          )
                                                 )
                     Defendants.                 )

                    MOTION TO WITHDRAW AS COUNSEL

      COMES NOW Plaintiff, by and through the undersigned counsel, and hereby

moves the Court for an order withdrawing Cameron C. Kuhlman as counsel of record

due to his resignation from The Claiborne Firm, PC. William R. Claiborne of The

Claiborne Firm, PC will continue to serve as lead counsel for Plaintiff.

      A proposed Order is attached hereto.

      This 30th day of May, 2017.

                                               DUFFY & FEEMSTER

                                               /s/ Cameron C. Kuhlman
                                               CAMERON C. KUHLMAN
 236 E Oglethorpe Ave                          Georgia Bar Number: 596159
 Savannah, Georgia 31401                       Attorney for Plaintiff
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                            CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing Motion to Withdraw

as Counsel upon all parties in this case in accordance with the directives from the

Court Notice of Electronic Filing (“NEF”), which was generated as a result of

electronic filing.

       I further certify that I served the following parties via US Mail, addressed as

follows:

           Emily C. Ward, Esq                       Benjamin Mason Perkins, Esq.
           Eric J. Frisch, Esq.                          Oliver Maner, LLP
        Thomas S. Carlock, Esq.                         218 West State Street
    Carlock, Copeland & Stair, LLC                          P.O. Box 10186
       191 Peachtree Street, NE                       Savannah, GA 31412-0386
                Suite 3600                              Attorney for Defendant
        Atlanta, GA 30303-1740                      John Wilcher, in his capacity as
   Attorneys for Defendants Corizon                    Chatham County Sheriff
  Health, Inc., a Tennessee Corporation
                   AND                                 Philip A. Henderson, Esq.
    Corizon LLC, a Missouri limited                       Insley & Race, LLC
            liability company                              The Mayfair Royal
                   AND                               181 14th Street, NE., Suite 200
        Clayton M. Ramsu, M.D.                             Atlanta, GA 30309
                                                         Attorney for Defendant
                                                         Joseph G. Moyse, M.D.


                                               DUFFY & FEEMSTER

                                               /s/ Cameron C. Kuhlman
                                               CAMERON C. KUHLMAN
                                               Georgia Bar Number: 596159
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